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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                             CIVIL ACTION NO. 1:15-cv-11631-WGY


ULYSSES PENA,

              Plaintiff,

v.

BOSTON POLICE OFFICER SEAN
SCANNELL, AND BOSTON POLICE
SERGEANT SEAN SMITH

              Defendants.

                    DEFENDANTS’ MOTION TO CONTINUE TRIAL

       Defendants, Sean Scannell and Sean Smith (the “Defendants”), hereby move this Court to

continue trial, currently scheduled for June 13, 2016, and issue a scheduling order for purposes

of conducting discovery. In support of this Motion, the Defendants submit the following:

       1.         Initially a scheduling conference was set for July 9, 2015, however due to the

                  Plaintiff’s incarceration, said conference was canceled. A scheduling order

                  was never issued, but rather trial was set for June 2016.

       2.         Following this order, Plaintiff filed an amended Complaint to include

                  Defendants Police Commissioner Evans, Superintendent Gross, and the City

                  of Boston on August 3, 2015.

       3.         Defendants moved to strike the amended Complaint on the grounds that it was

                  not assented to, was filed in excess of 21 days following Plaintiff’s initial

                  complaint, and alleged no set of facts on which relief could be granted.

       4.         The Court granted said Motion to Strike.
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5.      On October 27, 2015 upon Plaintiff’s motion to amend his Complaint, the

        Court allowed his motion in regards to the City.

6.      On November 5, 2015, The City of Boston moved to dismiss the case against

        it for failure to state a claim, and said motion was allowed on November 20,

        2015.

7.      At present Plaintiff has served Defendant with no discovery requests.

8.      Defendant has not had an opportunity to depose the incarcerated Plaintiff, and

        pending the Court’s ruling on this instant motion, will request leave to

        conduct said deposition.

9.      Defense counsel believes with a brief continuance of trial, and a condensed

        scheduling order, this litigation could be resolved on summary judgement and

        not burden the courts or an empaneled jury.

10.     Defense counsel recognizes the lack of scheduling order was not a bar to the

        conducting of discovery, and graciously asks this Court for the proposed

        continuance to aid in the resolution to this case.

11.     Defendants respectfully request a continuance of not more than four months,

        to reflect the time between July 2015 and November 2015 during which

        Defendants were still filing responsive pleadings to Plaintiff’s Amended

        Complaint and waiting to see which Defendants would remain in the case.

12.     Counsel proposes that the scheduling order be set as follows: fact discovery

        to be completed by July 1, 2016; experts disclosed by July 15, 2016; expert

        reports due by August 1, 2016; dispositive motions due by August 31, 2016.
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                  Should the case not be resolved on motion, trial could be set for October 1,

                  2016 or another date acceptable to this court.

       13.        No party will be prejudiced by the allowance of this Motion. Allowing this

                  brief continuance of trial and extension of time to conduct discovery will

                  greatly aid in the efficiency of this litigation.

       WHEREFORE, the Defendants respectfully request that the trial be continued and

scheduling order be set as stated above.


                                              Respectfully submitted,

                                              DEFENDANT CITY OF BOSTON

                                              By their attorneys:

                                              Eugene O’Flaherty
                                              Corporation Counsel



                                              /s/ Katherine N. Galle
                                              Katherine N. Galle (BBO#691660)
                                              Assistant Corporation Counsel
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                            LOCAL RULE 7.1 CERTIFICATION

       I hereby certify that I am unable to conduct a conference with the pro se Plaintiff
pursuant to Local Rule 7.1 due to the fact that he is incarcerated and I do not have contact
information for him other than his place of incarceration.

                                                      /s/ Katherine N. Galle
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                               CERTIFICATE OF SERVICE

       I hereby certify that this document will be sent via first class mail to Pro se Plaintiff
Ulysses Pena at the Plymouth County Correctional Facility, 26 Long Pond Road, Plymouth, MA
02360 on May 17, 2016.


                                                   /s/ Katherine N. Galle.
